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              WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY
                      STANDARD OPERATING PROCEDURES
SOP# 50      TRAIN OPERATOR STANDARD BASELINE ANNOUNCEMENTS

      50.1   PURPOSE

             The purpose of this Standard Operating Procedure is to provide Train Operators,
             and those with train operations responsibilities, guidance on the P.A.
             announcements that shall be made when performing standard operational
             procedures requiring routine communications with customers.

      50.2   SCOPE

             This SOP is applicable to all WMATA employees responsible for the operations of
             Metrorail Class 1 vehicles in revenue service.

      50.3   DEFINITIONS

             None

      50.4   RESPONSIBILITIES

             50.4.1 Rail Supervisors shall ensure that all train operators within their sector are
                    familiar with this SOP and periodically monitor operators for compliance.

             50.4.2 Train Operators are responsible for making the appropriate P.A.
                    announcements in conjunction with the standard operational procedures that
                    require communications with customers.

             50.4.3 Train Operators are also responsible for the safe movement of trains and the
                    safe loading and unloading of customers.




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                             STANDARD OPERATING PROCEDURES
         50.5        PROCEDURES

          Procedure#              Content
          50.5.1                  Train Operator Standard Baseline Announcements
          52.5.2                  Train Operator Standard Delay Announcements

                     50.5.1 Train Operator Standard Baseline Announcements:

                     50.5.1.1 Train Operators shall make the following announcements that
                              correspond with the standard operational procedures performed by
                              Operators when leaving terminals, servicing stations, and approaching
                              terminal stations (Refer to the Standard Baseline Announcement Table -
                              see below).

                                 Standard Baseline Announcement Table

Standard operational procedures requiring
                                                               Standard Baseline Announcements (SBAs)
    communications with customers

                         Keyed up 2 minutes
                                                                  This is a (color) Line train to (destination).
                          before departure
Departing terminal
                                                    Good (morninglaftemoonlevening), and welcome aboard Metrorail
                          30 seconds before
                                                    (color) Line to (destination), by way of downtown Washington D. C.
                              departure
                                                            The next station is (station name). Doors are closing.

                            When train is
                         berthing on platform              This is (station name); doors will open on the left/right.
                             Ref. (50.5.1.5)
   Entering next
      station
                          Repositioning train        Attention customers, this train will move forward; please hold on.


Announcement on          While train doors are     This is a (color) Line train to (destination). The next station is (station
    platform                     open                                                name).


                         While train doors are     This is a (color) Line train to (destination). The next station is the last
                                 open                                     station on the (color) Line.
  Station prior to
     terminal
                                                   This is a (color) Line train to (destination). The next station is the last
                           If train will lay-up
                                                  station on the (color) Line at which time this train will be out of service.

                            When train is          This is (station name); doors will open on the left/right. Please take all
Arriving at terminal     berthing on platform      personal items and newspapers when exiting the train. Thank you for
                            Ref. (50.5.1.5)                   riding Metrorail; have a (pleasant day/good night).



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                                                               This is (station name); doors will open on the left/right. This train is out
                                     If train will lay-up       of service; all customers must exit the train at this station. Thank you
                                                                         for riding Metrorail; have a (pleasant day/good night).

                                     Train will enter a        (In addition to the message above) "Attention all customers, this is the
                                     pocket track and          last train stop for this train. The train will continue into the pocket track
                                     return to service                              and return on the opposite track."

                                      When train is
          Transfer point                                       This is (station name), (First/Last) transfer point for the (color) Line, on
                                   berthing on platform
          announcement                                               the (upper!lowerlthis) level. Doors will open on the left/right.
                                       Ref. (50.5.1.5)


                            50.5.1.2 Train Operators shall make timely, consistent, and concise P.A.
                                     announcements in an unexcited tone whenever it is necessary to
                                     communicate varying or off-schedule messages to customers.

                            50.5.1.3 When 1t 1s necessary for a I rain Operator to hold his/her train, whether
                                     on the platform or in between stations, the Operator shall provide
                                     frequent P.A. announcements to customers approximately every 2
                                     minutes. (See section 50.5.2 of this SOP for Standard Delay
                                     Announcements).

                            50.5.1.4 Train Operators shall use the following Metrorail station names when
                                     making P.A. announcements in revenue service (Refer to the Station
                                     Names table below).

                          Green Line Stations       Yellow Line Stations      Orange Line Stations     Blue Line Stations       Silver Line Stations
    - Shady Grove                                  - Franconia-Springfield'                           - Franconia-Springfield    -- Wiehle-Reston East
                                                                                      - Vienna
      - Rockville                                     - Van Dom Street •                                - Van Dom Street               - Spring Hill
                                                                                   - Dunn Loring
      - Twinbrook           - Branch Avenue              - Huntington                                 - King Street-Old Town          - Greensboro
                                                                               - West Falls Church
     - White Flint              - Suitland           - Eisenhower Avenue                                 - Braddock Road             - Tyson Comer
                                                                                - East Falls Church
- Grosvenor-Strathmore        - Naylor Road         - King Street-Old Town                               - Ronald Reagan                - McLean
                                                                                   - Ballston-MU
   - Medical Center        - Southern Avenue           - Braddock Road                                  Washington National       - East Falls Church
                                                                              - Virginia Square-GMU
      - Bethesda           - Congress Heights          - Ronald Reagan                                         Airport                - Ballston-MU
                                                                                    -- Clarendon
 - Friendship Heights          -Anacostia              Washington National                                 - Crystal City       - Virginia Square-GMU
                                                                                   - Court House
   - Tenleytown-AU        - Navy Yard-Ballpark                Airport                                    - Pentagon City               - Clarendon
                                                                                      - Rosslyn
   - Van Ness-UDC              -Waterfront               - Crystal City                                     - Pentagon               - Court House
                                                                              - Foggy Bottom-GWU
   - Cleveland Park          - L'Enfant Plaza           - Pentagon City                                - Arington Cemetery              - Rosslyn
                                                                                  - Farragut West
 - Woodley Park-Zoo             -Archives                 - Pentagon                                         - Rosslyn          - Foggy Bottom-GWU
                                                                               - McPherson Square
    - Dupont Circle          - Gallery Place-           - L'Enfant Plaza                              - Foggy Bottom-GWU            - Farragut West
                                                                                  - Metro Center
   - Farragut North              Chinatown                -- Archives                                    - Farragut West         - McPherson Square
                                                                                 - Federal Triangle
    - Metro Center        - Mt Vernon Square            - Gallery Place-                               - McPherson Square            - Metro Center
                                                                                   - Smithsonian
    - Gallery Place-       - Shaw-Howard U                  Chinatown                                     - Metro Center           - Federal Triangle
                                                                                  - L'Enfant Plaza
        Chinatown               - U Street           - Mt Vernon Square                                 - Federal Triangle           - Smithsonian
                                                                               - Federal Center SW
  - Judiciary Square       - Columbia Heights          - Shaw-Howard U                                    - Smithsonian             - L'Enfant Plaza
                                                                                  - Capitol South
    - Union Station        - Georgia Avenue-               - U Street                                    - L'Enfant Plaza        - Federal Center SW
                                                                                 - Eastern Market
 - NoMa-Gallaudet U               Petworth            - Columbia Heights                               - Federal Center SW           - Capitol South
                                                                                - Potomac Avenue
  - Rhode Island Ave          - Fort Totten           - Georgia Avenue-                                   - Capitol South           - Eastern Market
                                                                                 - Stadium Armory
   - Brookland-CUA          - West Hyattsville               Petworth                                   - Eastern Market           - Potomac Avenue
                                                                               -- Minnesota Avenue
     - Fort Totten       - Prince George's Plaza         - Fort Totten                                    - Potomac Ave            - Stadium Armory
                                                      - West Hyattsville •          - Deanwood
       -Takoma           - College Park-U of MD                                                         - Stadium Armory            - Benning Road
                                                       - Prince George's             - Cheverly
    -- Silver Spring           - Greenbelt                                                               - Benning Road             - Capitol Heights
                                                              Plaza'                 - Landover
     - Forest Glen                                                                                      - Capitol Heights           - Addison Road
                                                   - College Park-U of MD'       -- New Carrollton
      -Wheaton                                                                                           - Addison Road           - Mo an Boulevard


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      - Glenmont                                  - Greenbelt '                         - Morgan Boulevard   - Largo Town Center
                                                                                        - La o Town Center
* Indicates Rush-Only Service station stop.


                              50.5.1.5 When entering stations where an interlocking is present, Train Operators
                                       shall make the standard baseline announcement prior to moving through
                                       the interlocking or when 50% or more of their consist has passed
                                       through the interlocking.

                              50.5.2 Train Operator Standard Delay Announcements:

                              50.5.2.1 Rail OCC shall instruct Train Operators to make Standard Delay
                                       Announcements listed in the table below. Train Operators shall use their
                                       best judgement in making announcements if ROCC does not specifically
                                       instruct them on which one to make. ROCC shall instruct Train
                                       Operators on which announcement to make by Announcement Letter.
                                       ROCC may instruct one Operator (on incident train) or several
                                       Operators (moving on a line with delays) to make standard delay
                                       announcements as follows:

                              50.5.2.1.1 Train 101, track 2 Bethesda please make delay announcement A, or,

                              50.5.2.1.2 All trains on the Red Line, please make delay announcement D.

                              50.5.2.2 Train Operators shall then make the delay announcement associated with
                                       the standard delay announcement letter every 2 minutes. Train operators
                                       shall not use more specificity than is in the standard delay announcement
                                       so not to cause alarm to customers despite what support personnel are
                                       being told over the radio. Train operators shall say delays are being
                                       caused by a problem ahead. Train Operators shall refrain from saying
                                       delays are being caused by an arcing insulator, cable fire or other
                                       specific reasons except when instructed by ROCC.




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                                      STANDARD DELAY
                          TRAIN OPERATOR ANNOUNCEMENTS
Announcement A                                                         re: leaving the cab area
Announcement B                                                         re: offloading train
Announcement C:                                                        re: trains holding
Announcement D                                                         re: single tracking
Announcement E                                                         re: no train service
Incident Train Announcements:
    • Announcement A: Attention customers, this train has encountered a problem that will
       require me to leave the cab to investigate. Please remain comfortable and away from the
       doors. I will return with an update shortly.

   •   Announcement B: Attention customers, this train is experiencing a mechanical problem
       and is being offloaded. Please gather your personal belongings and exit the train; the next
       train will be arriving soon. We apologize for any inconvenience. This train is now out of
       servce.

   Trains on the Affected Line Announcements:
   • Announcement C: Attention customers, this train is being delayed due to a problem
       ahead that does not affect your safety. Appropriate personnel are responding to the
       incident. We will be holding at this location and awaiting further instructions from the
       control center. Please remain comfortable and stand clear of the doors. Thank you for
      your patience. Once again, ... [REPEAT FULL ANNOUNCEMENT 1 x]

   •   Announcement D: Attention customers, there is a problem ahead, causing trains to single
       track. We will be holding at this location to wait for oncoming trains to pass. Once those
       trains clear the single track area, we will begin moving. Thank you for your patience.

   •   Announcement E: Attention customers, due to a disruption in service, there is currently
       no train service between XX and YY stations. Upon arriving at (XX), this train will be
       out of service and everyone will need to exit this train. Free shuttle buses will be
       available at street level to continue your trip. We apologize for this inconvenience and
       thank you for your patience.

       50.6      REFERENCES

                 50.6.1 MSRPH Operating Rule 3.141

                 50.6.2 MSRPH SOP 40

                 50.6.3 MSRPH SOP 45

                 50.6.4 MSRPH SOP 4A




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